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IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

JOHN MURPHY, CECIL MATHEW, and
NIRUPA MATHEW,

Plaintiffs,

v. No. l:l7-cv-08114
FOSTER / PREMIER, INC.,
HOMEWISE SERVICE CORP., INC., and
NEXTLEVEL ASSOCIATION SOLUTIONS,
INC.,

Defendants.

Judge Manish S. Shah

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PLAINTIFFS’ PARTIALLY UNOPPOSED MOTION FOR LEAVE TO FILE
BRIEF IN EXCESS OF 15 PAGES INSTANTER

Pursuant to Local Rule 7.1, Plaintiffs respectfully move this Court for leave to flle instanter
their attached Combined Response in Opposition to Defendants’ Motions to Dismiss, which is l7

pages long not including attorney signature and info page. ln support, Plaintiffs state as follows:

l. Plaintiffs know a long brief is not necessarily a better brief. However, Defendants
raised many issues and Plaintiffs believe a full statement of Plaintiffs’ position on these issues
requires more than 15 pages.

2. Plaintiffs tried to make their brief as short as possible but believe further cuts will
potentially prejudice their position and deprive the Court of valuable analysis.

3. Defendant Foster Premier does not object to this motion.

4. Defendant Homewise’s position is that it will not object to the motion so long as
they are also allowed 17 pages. Obviously, Plaintiff cannot guarantee what the court will or will
not allow as to HomeWise, so this motion is filed as partially unopposed for that reason.

5 . If the Court denies this motion, Plaintiffs request three business days after being

notified to cut their brief down to whatever length the Court deems appropriate to re-file it.

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6. No party will be prejudiced by granting this motion, and the proceedings will not

unduly be delayed.

Wherefore, Plaintiffs request the Court grant this motion to allow Plaintiffs to file the

attached brief instanter, or if denied, for additional time to reduce its length and re-file it.

DATED: January 24, 2018

By: 52th S¢a&

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